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                                   Investigator’s Guide
                            Office of the Society Seneschal
                                        January 2021
I. Introduction:
This guide was created to assist Kingdom and Society investigators in carrying out their assigned
investigations efficiently, courteously, and professionally.


II. General Principles:
The following points apply to all investigators and all officers involved in an investigation,
regardless of whether it is a Kingdom or Society investigation.
1. All persons contacted in connection with an investigation are to be treated with courtesy and
respect.
2. All materials and information collected during an investigation are the confidential property of
the SCA. Complainants, witnesses, and subjects are entitled only to receive copies of notes from
their own interviews, copies of their own statements, and copies of documents they themselves
have provided.
3. Investigators, officers, and Crowns are prohibited from commenting outside the chain of
command on any matters pertaining to the investigation, beyond required announcements spelled
out in the Sanction Guide. The chain of command includes the investigator, the Kingdom
Seneschal and any involved deputies, the Crown of the involved kingdom (and heirs if
applicable), Society officers and investigators, and other officers as appropriate.
4. At no time should the identities of complainants be revealed to the subject of the investigation.
Likewise, the identities of witnesses suggested by the complainant should not be revealed to the
subject. The reverse is also true; if the subject suggests witnesses, their identities should not be
revealed to the complainant.
5. If it is learned that a complainant, subject, or witness has engaged legal counsel to represent
them in the matter, all communication with that individual must go through their attorney. They
or their attorney will need to contact the President of the SCA, Inc., who will put them in contact
with the SCA’s legal counsel.
6. DO NOT interview minors! If a minor is a victim, witness, or subject, contact and interview
the parent or guardian, not the minor. It is acceptable for the parent or guardian to provide a
statement from the minor if they so choose.




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II. Types of Investigations:
   1. Kingdom investigation with possible Crown-imposed sanction as a result.

   2. Society investigation resulting from a Crown-imposed sanction, usually a Temporary
      Removal from Participation (TRP).

   3. Society investigation of an appeal to the Society Seneschal of a decision by a Crown to
      take no action on a complaint. An affected member may appeal a kingdom’s decision; the
      Society Seneschal will generally decide whether further investigation is needed. In some
      cases, the Board may order an investigation directly.

   4. Society investigation of a complaint made directly to the Society Seneschal or President.
      In most cases these will be referred back to the kingdom for an initial investigation,
      unless the complainant can show that the initial investigation should be done at the
      Society level.

   5. Investigation of a complaint made about a sitting Crown’s actions or behavior. Only the
      Board can order an investigation of actions taken by a sitting Crown; therefore, these will
      always be Society investigations.

   6. Investigation of a sanction imposed by the Society Seneschal. These may occur in cases
      where the kingdom has requested that a sanction be imposed by the Society Seneschal
      due to involvement of the Crown and/or kingdom seneschal in an issue resulting in a
      complaint; when a more rapid response to an action is needed than the normal kingdom
      processes permit; or when the Board decides to order the Society Seneschal to issue a
      Temporary Removal from Participation, often due to some violation of modern law.


III. Recusing a Society Officer, Kingdom Officer or Investigator:
   1. Definition: For an investigator, recusal means declining or withdrawing from an
      investigation assignment because of an actual or perceived conflict of interest.

   2. Reasons for recusal may include, but are not limited to:

              The officer or investigator has prior involvement in the matter to be investigated
               in any way—as a witness, victim, or subject.
              The officer or investigator has a close personal connection with a principal party
               in the matter to be investigated that could be seen to compromise their objectivity.
              The officer or investigator has other previous life experiences that, in the
               investigator’s opinion, could interfere with their ability to be impartial.




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             The officer or investigator has some involvement in any previous related
              investigation that could compromise their impartiality or the appearance of
              impartiality.
             The officer or investigator has some status as a mandated reporter if that status
              could interfere with the appearance of impartiality.


IV. Conducting an Investigation at the Kingdom Level:
      1. If there is a modern legal investigation in progress, the Kingdom Seneschal needs to
         ensure that the SCA is cooperating with modern law enforcement agents. No SCA
         investigation may interfere in any way with a modern legal investigation. This may at
         times require an SCA investigation to be suspended until the modern legal
         investigation and actions are completed.

      2. If a complaint is received at the local level, local seneschals report it up to the
         Kingdom Seneschal, who determines if an investigation is needed.

             Get the complaint in writing. It is acceptable for someone to dictate a statement if
              they are not able to write it themselves.
             The identity of the complainant can remain confidential; however, a totally
              anonymous complaint cannot be investigated.
             Encourage the complainant to supply names of anyone else who witnessed the
              occurrence or can supply further information. Witnesses cannot be completely
              anonymous, but their identities can remain confidential.
      3. The purposes of an investigation at the kingdom level are: to find out missing
      information, to verify facts, and to get accounts from all sides of the issue, especially if
      reports are conflicting.
      4. If there are criminal charges resulting from the incident, or a number of similar
      complaints about a particular individual, or the incident occurred on public social media
      and is readily documented, an in-depth investigation might not be necessary. The primary
      responsibility of an investigator assigned to this type of case is to sort through the
      evidence and provide a summary of the case.
      5. If an in-depth investigation is needed, assign an investigator who is neutral, generally
      respected, and not closely connected with any principal party in the complaint.
Steps in a kingdom investigation:
   1. The investigator reviews written complaints and any available documentation such as
      screenshots, photographs, etc.




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2. The investigator MUST make every attempt to interview the complainant(s), the
   subject(s), and any pertinent witnesses. Unsuccessful attempts to contact people must be
   documented. If anyone refuses to be interviewed, that needs to be noted. Interviews may
   occur in person, via phone, or via videoconference.

3. Treat all persons contacted with courtesy and respect.

4. Only record an interview if all parties agree to be recorded. This can be done by getting
   the consent of the interviewee in advance, and then stating at the beginning of the
   interview that it is being recorded and having the interviewee verbally agree. If a
   recording is made, the investigator should be the person doing the recording if at all
   possible, and the investigator must retain control of a copy.

5. If someone prefers to make a written statement, that is allowable, but make a note that
   they chose that in lieu of an interview.

6. Supply the interviewee with a copy of your notes from their interview and allow them to
   review the notes for accuracy.

7. Do NOT provide anyone—complainant, witness, or subject—with anybody else’s
   statement or the notes from your interviews with others. If appropriate, an interviewee
   may be shown or read documentation (with names and other identifying information
   redacted) and asked to verify its accuracy, or asked about statements made by others
   (without stating their names or other identifying information).

8. All materials and information collected during an investigation are confidential. The
   Crown, the Kingdom Seneschal, and the investigator are prohibited from commenting
   outside the chain of command on the investigation. The chain of command includes the
   Kingdom Seneschal and any involved deputies, the Crown (and heirs if applicable),
   Society officers or investigators, and other officers that might need information about the
   situation as appropriate.

9. All documentation such as emails, text messages, screenshots, etc gathered during the
   course of the investigation should be stored in a secure manner and backed up. This
   documentation needs to be preserved in its original form if possible.

10. When the investigation is completed, the investigator writes a report (see Appendix A for
    suggested report format) and turns the report and all documentation over to the Kingdom
    Seneschal. The report and all documentation obtained remain confidential and must not
    be shared with individuals outside the chain of command as defined in #8 above.

11. All documentation, interview notes, etc. become part of the Kingdom Seneschal’s office
    files and must be preserved.




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Follow-Up to Kingdom Investigations:
The Kingdom Seneschal and Crown decide what, if any, sanction is appropriate.
   1. If a Royal Sanction is enacted, it MUST be read in court and published in the kingdom
      newsletter. See the Sanction Guide for detailed instructions.

   2. Notify the sanctioned person per the instructions in the Sanctions Guide. The
      complainant should also be notified of the sanction, but not of any details of the
      investigation.

   3. If an Administrative Action is done, it does not need to be read in court or published, but
      the subject MUST be informed in writing of the action, its expiration date, and its effects
      on their participation, as well as the reasons for the action. The complainant, if any,
      should be notified that action was taken. For further information on Administrative
      Actions, please refer to Section 3.A of the Sanctions Guide.

   4. If no action is taken, both the complainant and subject must be informed of this decision.

   5. The results of any investigation are reported to the Society Seneschal. If there was an
      Exile from the Kingdom or a Temporary Removal from Participation, the Society
      Seneschal will then report it to the Board at the next reasonable opportunity (usually the
      next scheduled Board meeting). The Board will decide whether to uphold the sanction,
      and in the case of a TRP, if the Board upholds and extends the sanction they will
      typically order an investigation by the Society Seneschal’s office.


V. Society Investigations
Investigations Resulting from a Kingdom Sanction:
   1. If a Kingdom has enacted the sanction of Temporary Removal from Participation, and the
      Board upholds and extends the sanction, an investigation will normally be ordered.

   2. The Society Seneschal will send a letter notifying the sanctioned person of the action and
      will instruct the Investigations Deputy to assign an investigator.

   3. The Society Seneschal will provide the Investigations Deputy with the results of the
      kingdom investigation, including all documentation and statements. These will in turn be
      provided to the investigator.
Investigations Resulting from Direct Complaints to the Society Seneschal:




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   1. If the Society Seneschal receives a complaint that has not gone to a Kingdom first, the
      Society Seneschal will consult with the appropriate Kingdom Seneschal to determine if
      the complaint should be handled by the Kingdom or by the Society.

   2. If it is determined that the Kingdom will process the complaint, a copy of all pertinent
      information is sent to the Kingdom Seneschal. (See Section IV above.)

   3. If the Society Seneschal’s office will investigate the complaint, all pertinent information
      is sent to the Investigations Deputy. The Investigations Deputy will then assign an
      appropriate investigator.


VI. Society Investigation Process
Assigning an Investigator:
Once the Society Seneschal has determined that a Society-level investigation is needed, the
Investigations Deputy will be asked to assign an investigator to the case.
   1. An email will be sent to the investigator with a cover letter directing the investigator to
      review and either accept or decline the case. The cover letter will include the following:
      Society and modern names of the complainant, subject, and any known witnesses; a
      summary of the accusations made; and whether the investigation is the result of a
      kingdom action, an appeal to the Board, or a Board or Society Seneschal decision. The
      investigator will be told whether or not the case has been reviewed by the Board, and
      what the outcome of that review was, if applicable.

   2. Once the investigator accepts the investigation, the Investigations Deputy will send out
      brief letters introducing the investigator to the complainant, the subject, the Kingdom
      Seneschal, the Crown, and the Society Seneschal. If another interviewee requests it, the
      letter of introduction may be sent to them as well. These will be individual letters in order
      to protect the privacy of all parties.

   3. All available information on the complaint will be made electronically available to the
      investigator. Any additional information that becomes available, especially any Board
      decisions, should be communicated to the investigator as soon as possible.

   4. All emails, text messages, and records of verbal communications pertaining to the
      investigation shall be stored in a secure manner and backed up.

   5. All information gathered during the investigation is considered confidential.

   6. No information is to be deleted until the Investigations Deputy or the Society Seneschal
      has confirmed that the final report has been received and that all files are able to be
      opened and read.




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  Investigation Procedures:
   1. The assigned investigator will review all available information and ask the Investigations
      Deputy or Society Seneschal any questions they have about how to proceed.

   2. Prepare outlines or lists of available documents, persons known to be involved in the
      matter, and events or alleged events.

   3. Make a preliminary list of people who will need to be interviewed in the course of the
      investigation. Note that it is possible that other witnesses will be added to this list during
      the course of the investigation.

   4. The investigator will contact the necessary people to schedule interviews.

         The investigator MUST make all reasonable attempts to interview the Subject and
          Complainant in any investigation, along with any witnesses and other parties who are
          deemed to have knowledge pertaining to the investigation.
         If contact information is not included in the packet, it can be obtained through the
          Corporate Office in many cases. Please ask either the Investigations Deputy or the
          Society Seneschal to request needed information from the Corporate Office if
          required. Kingdom Seneschals and Crowns can be contacted using information on the
          kingdom web page. The Kingdom Seneschal may also be able to assist with contact
          information for others involved in the case.
         Please try to obtain modern and SCA names, email addresses, and phone numbers for
          each person interviewed.
         For most investigations, these people should be interviewed, in the following order:
              1. Kingdom Seneschal
              2. Sanctioning Crown (if applicable)
              3. Complainant(s)
              4. Any witnesses suggested by the above people who have direct knowledge of
                  the matter; any other kingdom officers involved in the matter
              5. Subject
              6. Any witnesses suggested by the subject as having direct knowledge of the
                  matter who have not yet been interviewed
Contacting interviewees:
          1. First contact should be via email if possible. See the sample Investigator
             Introduction letters in Appendix B. Sometimes, if all you need is a few
             confirmations of fact, email contact will be sufficient. However, even if all you
             need is a confirmation of data, ask if they have anything to add or wish to speak to
             you on the phone or via videoconference.




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          2. If the person does not respond after two or three attempts at email contact, spaced
             several days apart, the investigator should try to find alternate contact
             information:

                     Phone number
                     Alternate email
                     Facebook or other social media messaging
                     Mailing address
      3. The investigator should document all attempts at contact. If contact is not made, this
      documentation needs to be included in the report. If someone refuses to be interviewed,
      or requests no further contact, that needs to be noted in the report. If someone wishes to
      submit a written statement rather than being interviewed, this is acceptable, but needs to
      be noted in the report.
      4. If it is known that an involved person has engaged legal counsel for the matter at hand,
      the investigator will need to send written questions through the SCA’s legal counsel for
      the person to answer. The investigator should contact the Investigations Deputy, Society
      Seneschal, or President with any questions about this.
      5. Do not attempt to contact someone “through a friend”. If the person does not respond,
      it is acceptable to ask the kingdom seneschal if they will assist in contacting the person.
      If, during an interview with another witness, they offer to remind the person you need to
      get hold of them, that is also acceptable.
      6. If the person has not responded after three or four attempts at contact, spaced over at
      least two weeks and if possible using at least two different methods, send a final email
      informing them that if they have not contacted you within one week, the investigation
      will proceed without their input. If the person who did not respond was the complainant,
      notify the Investigations Deputy and the Society Seneschal when that deadline has
      passed.
      7. If someone who had not responded responds after the specified deadline, but before the
      report is written, contact the Investigations Deputy and the Society Seneschal. Normally
      the investigator will be instructed to go ahead and schedule an interview with the person
      if possible.


Procedures for Conducting Interviews:
   1. Note that all procedures for conducting interviews in Section IV above apply here as
      well.

   2. Interview the kingdom seneschal and sanctioning Crown (if applicable) first to get the
      basic facts. Both halves of the royal pair need to agree on the facts of the case; if they do
      not, each will need to be interviewed separately.



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3. Ask the Kingdom Seneschal and Crown if they have any reason to suspect any bias on
   the part of the complainant(s) or others. Ask to be filled in on any social background
   relevant to the situation. This may include things like long-term disagreements,
   household issues, etc.

4. Note the interviewee’s modern name, SCA name if applicable, and the date of the
   interview on the interview notes.

5. Take copious notes during all interviews. If necessary, ask the interviewee to pause or
   repeat while you catch up.

6. Type up the notes and email them to the interviewee within two days if possible. Ask
   them to verify that the notes are accurate, or to tell you what changes or additions they
   feel are necessary for accuracy. Give a reasonable amount of time for the review—five
   days is suggested. Include a statement that if you have not heard from them within that
   time frame, you will assume that the notes are accurate.

7. Normally, make any changes requested by the interviewee. If you believe that the
   requested changes do not reflect what was actually said, include both versions in the
   report. In this case, clearly label which is your version and which is the interviewee’s
   version.

8. If the interviewee wants to add material upon reviewing the notes, either put it at the end
   of the interview with a note that it is supplemental, or include it as an additional
   statement.

9. As stated previously, do not interview minors! If a minor is a victim, witness, or subject,
   contact and interview the parent or guardian, not the minor. It is acceptable for the parent
   or guardian to provide a statement from the minor.

10. If someone indicates they have engaged an attorney, or states that they wish to engage an
    attorney or file suit against the SCA or an officer, stop the interview and instruct them to
    have their attorney contact the President of the SCA. Notify the Society Seneschal as
    soon as possible if this occurs.

11. Be extra considerate with alleged victims of sexual assault. Acknowledge that it may be
    difficult to have to go through what happened again. Maintain a pleasant-but-professional
    demeanor.

12. Never give anyone’s name to a subject of an investigation. They can be asked about
    incidents, but not given names of victims or witnesses. They are not to be given copies of
    interview notes or written statements (other than their own).




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   13. This works in reverse as well. The only documents anyone—complainant, subject, or
       witness—is entitled to receive are copies of their own statements and interview notes.

   14. If documentation is mentioned, such as screenshots, emails, photos, etc., ask for copies.

   15. If the police were called, or if anyone reported the situation to the police, ask if there is a
       police report; make every attempt to get a copy of any documentation of police
       involvement. Note: It is not always possible for someone other than a principal in a police
       matter to get the police report. It may be that the person who filed it will have to obtain it.
       If there is a case pending in court, make every attempt to obtain copies of the docket
       and/or any available documentation from the court.

   16. If there were any news stories about the situation, try to obtain copies of this information.
       If it is not available from the interviewee, it may be available from the newspaper or TV
       station.
The Report:
   1. A formal report (see Appendix A) is to be presented to the Investigations Deputy for
      review. This report, and any accompanying documentation, should be submitted in PDF
      format if at all possible. (Note that emails can often be “printed to PDF” and saved in that
      format.)
   2. Along with the PDF, all documentation such as emails, screenshots, etc. also needs to be
      preserved in its original format. This is important in case of later appeals or legal
      procedures. Submit all materials to the Investigations Deputy in their original format as
      well. If you have technical difficulties with this, please contact the Investigations Deputy
      or the Society Seneschal, who will try to find assistance for you.
   3. If the report is in any way incomplete, the Investigations Deputy will work with the
      investigator to complete any missing items in the report.
   4. The investigator should NOT delete any files pertaining to the report until either the
      Investigations Deputy or the Society Seneschal has confirmed that all files have been
      received and can be opened and read.
   5. Once the report is complete, the Investigations Deputy will move the folder to the
      “Completed Investigations” folder and inform the Society Seneschal that the report is
      ready for the Board to review.
   6. The Society Seneschal will review the report and prepare it for the next available Board
      meeting. If the Society Seneschal has any questions or concerns, they may contact the
      investigator to discuss them.




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7. A copy of the report, with all interview notes and other documentation, is sent to the
   Corporate Office to be included in the packet for the Board meeting. All investigation
   reports are kept on file in case of later appeals.
8.    The report needs to contain all of the following items:
    Legal name of the subject of the investigation.
    The investigator’s name and email address
    The dates the investigation occurred
    The reason for the investigation
    A timeline of key events
    The investigator’s summary of occurrences, witness statements, etc.
    A list of individuals contacted, including their legal names and contact information
    A log of attempts to contact any complainant, subject, or material witness that the
     investigator was not ultimately able to contact
    A list of interview notes and statements included in the report
    A list of exhibits (screenshots, police reports, photographs, etc.) included in the report
    If applicable, the kingdom casefile or investigation report




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APPENDIX A: REPORT TEMPLATE

INVESTIGATION REPORT: (Legal name of Subject)

Investigator’s Name:

Date(s) of Investigation:

REASON FOR INVESTIGATION: (Short summary of accusations including any kingdom
sanctions already enacted and Board decisions already made.)

SUMMARY TIMELINE: (Include date, what occurred, who, where, etc.. Make sure all
notifications--date sanction read in court, letters sent, date of notice in newsletter, phone calls
made--are included. Also include attempts to contact complainant, subject, witnesses if contact
was not made. If contact was made, it is only necessary to include dates of statements and
interviews.)

INVESTIGATOR’S SUMMARY: (Describe occurrences. Clearly distinguish opinions vs.
facts. Do not include specific sanction recommendations (i.e. R&D), but do include the
investigator’s assessments as to witness reliability, accuracy of statements, etc. and whether SCA
rules, code of conduct, etc. were broken and in what way. Note discrepancies in witness
statements and documentation where possible.)

LISTING OF INDIVIDUALS CONTACTED/INTERVIEWED: (List everyone contacted in
the order that they were contacted, including the role they played in the situation--Kingdom
Seneschal, Crown, complainant, subject, witness--modern and SCA names, email, and phone
numbers. If someone listed was not interviewed, note the reason why in their entry.)

INTERVIEWS AND INFORMATION PRESENTED: (List all interview notes by document
title and name of interviewee. Also list any written accounts provided.)

EXHIBITS: (Screenshots, police reports, etc. List by document title and include a brief
description, i.e. “Screenshots of text messages between <Name> and <Name> on <Date>.”)

KINGDOM CASEFILE OR INVESTIGATION REPORT: (Attach if applicable.)




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Appendix B: Sample introductory email from investigator:

   1. To Kingdom Seneschal or Crown:

Unto SCA Title and Name, Seneschal/Crown of Kingdom, Greetings:

I am SCA Title and Name of Kingdom (mka modern name), and I am a member of the
Society Seneschal's Sanctions Investigation Team. I have been assigned to the investigation of
modern name of subject (in the SCA, SCA name of subject). I have read much of the material
available on the case, and have seen your communications with the Board concerning this matter.

I have a few questions for you.

Ask any questions you wish to ask that you need answers to…this may include things like a
missing modern name or additional contact information.

Do you have anything to add to the material that you have already submitted to the corporate
level of the Society? This could be a personal statement, or a statement as to how subject’s
participation has affected the Kingdom. If you wish to send additional written material, please let
me know by deadline. Even if you have nothing to add, please reply so that I can be sure that
you have received this message.

I may find it necessary to interview you about this case. What would be the best day and time for
us to talk?

If you would like to talk to me, you can reach me by text at phone number to confirm a time. I
am on time zone time and number hours behind/ahead of you.

Thank you for your assistance.

In Service to the Society,

SCA Name/Modern Name

*Note: If you only have an SCA name, lead with your SCA name but include your modern
name. If you have a modern name for the person you are writing to, use it and your modern
name, but include your SCA name and kingdom as well.




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   2. To Complainant:

Dear Name:

I'm Modern Name/SCA Name from Kingdom, and I'm part of the SCA Sanctions Investigation
Team. I have been assigned to the investigation of modern name of subject (in the SCA, SCA
name of subject).

I have a few questions for you: Ask any questions you wish to ask that you need answers to…
this may include things like a missing modern name or additional contact information.

Do you have anything to add to the material that you have already submitted? If you wish to send
additional written material, please let me know by deadline. Even if you have nothing to add,
please reply so that I can be sure that you have received this message.

I may find it necessary to interview you about this case. What would be the best day and time for
us to talk?

If you would like to talk to me, you can reach me by text at phone number to confirm a time. I
am on time zone time and three hours behind you.

Thank you for your assistance.

In Service to the Society,

Modern Name



   3. To Subject:

Modern Name:

I'm Modern Name/SCA Name from Kingdom, and I'm part of the SCA Sanctions Investigation
Team. As you may have heard, the sanction (summarize the most recent action taken by the
Board or Society Seneschal). A letter with information to this effect was sent to you on date by
the Society Seneschal, Name.

I have been assigned to investigate this matter. I have a few questions for you: Ask any
questions you wish to ask that you need answers to…this may include things like a missing
SCA name or additional contact information.

Do you have anything to add to the material that you have already submitted? If you wish to send
additional written material, please let me know by deadline. Even if you have nothing to add,
please reply so that I can be sure that you have received this message.




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I may find it necessary to interview you about this case. What would be the best day and time for
us to talk?

If you would like to talk to me, you can reach me by text at phone number to confirm a time. I
am on time zone time and three hours behind you.

Thank you for your assistance.

In Service to the Society,

Modern Name




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